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You have heard evidence regarding Loyola High School tuition
payments relating to Jovan Vavic. I caution you that this evidence is
being offered solely as it relates to an overall relationship between
Rick Singer and Jovan Vavic. There is no suggestion, and you should
not in any way understand this evidence to suggest, that any high
school tuition payments made by Rick Singer were provided in
connection with Johnny Wilson’s admission to USC. There also is no
suggestion, and you should not in any way understand this evidence
to suggest, that John Wilson had any knowledge of any high school
tuition payments made by Rick Singer in connection with Jovan
Vavic.
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              EXHIBIT B
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